       Case 1:20-cv-03590-JEB          Document 538         Filed 04/10/25      Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



  FEDERAL TRADE COMMISSION,

                    Plaintiff,
                                                         Case No. 1:20-cv-03590-JEB
               v.

  META PLATFORMS, INC.,

                    Defendant.


                                   JOINT STATUS REPORT

       Pursuant to the Court’s April 8, 2025 Minute Order, Plaintiff Federal Trade Commission

and Defendant Meta Platforms, Inc. met and conferred with the New York Times (“Times”)

between April 8 and 10, 2025. In light of those discussions, the parties jointly request entry of

the joint proposed order regarding confidentiality procedures, attached as Exhibit A. The Times

authorized the parties to represent that the Times agrees to entry of this joint proposed order.




                                                 1
     Case 1:20-cv-03590-JEB   Document 538    Filed 04/10/25     Page 2 of 2




Dated: April 10, 2025             Respectfully submitted,

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